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                                                                                                 SEND
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL

 Case No.          CV 07-6591 ODW(JCx)                                     Date    December 10, 2007
 Title             Zomba Recording, LLC v. Mario Aramando Lavandeira, et al.


 Present:          The Honorable Otis D. Wright II, United States District Judge


                Raymond Neal                          Not Reported                        n/a
                Deputy Clerk                          Court Reporter                    Tape No.

          Attorneys Present for Plaintiff(s):                 Attorneys Present for Defendant(s):

                        Not Present                                            Not Present


 Proceedings (In Chambers):             Order Striking E-Filed First Amended Complaint (Filed
                                        12/4/07) [Docket No. 5]

         Pursuant to General Order No. 07-08, “Complaints (including Third-Party
         complaints, counterclaims and cross-claims) and other initiating documents in civil
         cases shall be filed, in duplicate, fees paid, and summons issued and served in the
         traditional manner on paper rather than electronically” (p. 13).

         Accordingly, the Court STRIKES plaintiff’s First Amended Complaint, e-filed on
         December 4, 2007 [Docket No. 5].

         IT IS SO ORDERED.

                                                                                             :    00
                                                        Initials of Preparer           RGN




CV-90 (06/04)                              CIVIL MINUTES - GENERAL                               Page 1 of 1
   Case 2:07-cv-06591-ODW-JC Document 10 Filed 12/10/07 Page 2 of 2 Page ID #:69

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CV-90 (06/04)                              CIVIL MINUTES - GENERAL                               Page 1 of 1
